     Case 22-05078-wlh               Doc 2       Filed 05/19/22 Entered 05/19/22 10:49:58                         Desc Stamped
                                                     Summon Page 1 of 2
                                                 U.S. Bankruptcy Court
                                              Northern District of Georgia
In re:
                                                               Bankruptcy Case No.22−51326−wlh
RICHARD DOUGLAS CULLINAN
                                                   Debtor
                                                               Adversary Proceeding No.22−05078−wlh
COASTAL STATES BANK
                                                   Plaintiff
v.
RICHARD DOUGLAS CULLINAN
CHRISTINA M CULLINAN ET. AL.
                                                   Defendant


                                                 SUMMONS IN AN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to complaint which is attached to this summon to the Clerk of the
Bankruptcy Court within 30 days from the date of issuance of this summons, except that the United States and its offices and agencies shall
submit a motion or answer to the complaint within 35 days of issuance.

Address of Clerk
                   Clerk, U.S. Bankruptcy Court
                   Northern District of Georgia
                   1340 United States Courthouse
                   75 Ted Turner Drive SW, Atlanta GA 30303
At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


Name and Address of Plaintiff's Attorney
            Bret J. Chaness
            Suite 100
            3145 Avalon Ridge Place
            Peachtree Corners, GA 30071−1570

If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY
THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE
COMPLAINT.


         Date Issued:                                                      M. Regina Thomas, Clerk of Court

         05/19/2022
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continued caption:

Listing Of Defendant Names:

RICHARD DOUGLAS CULLINAN
305 CANNADY COURT
ATLANTA, GA 30350

CHRISTINA M CULLINAN

FIFTH THIRD BANK, NATIONAL ASSOCIATION

CREDIBILITY CAPITAL, INC.
